                Case 1:20-cv-07355-PKC Document 19
                                                18 Filed 10/20/20
                                                         10/19/20 Page 1 of 2


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                                                      October 19, 2020
                                               Time for all defendants to answer is set for November 30,
                                               2020. Conference adjourned from November 10, 2020 to
           BY ECF
                                               December 21, 2020 at 11:30 a.m.
           The Honorable P. Kevin Castel       SO ORDERED.
           United States District Court        Dated: 10/20/2020
           Southern District of New York
           Courtroom 11D
           500 Pearl Street
           New York, New York 10007

                      Bank Hapoalim B.M. v. Johnny Sajnani a/k/a Deepak Sajnani et. al.
                                        Case No. 1:20-cv-07355-PKC
                     Request for Uniform Date for Defendants to Respond to Complaint and
                                 Adjournment of Case Management Conference

           Dear Judge Castel:

                            We are counsel to plaintiff Bank Hapoalim B.M. in this action. We are
           writing with the consent of Dwight Yellen, Esq., counsel for defendants, to request the
           Court to approve the agreement of counsel to set a uniform date for all Defendants to
           respond to the Amended Complaint to and including November 30, 2020 and for an
           adjournment of a Case Management Conference scheduled for November 10, 2020 until a
           date at least 14 days after November 30.

                          Defendants J&V Brand Management Co., LLC, Mercantile Credit, Inc.,
           Johnny Signature Int Inc. and Johnny’s Signature, Inc, (“Corporate Defendants”) were
           served through the New York Secretary of State, with their answers due on October 29,
           2020. Defendant Johnny Sajnani a/k/a Deepak Sajnani (“Sajnani”) agreed to waive
           service pursuant to Fed. R. Civ. P. 4(d)(1), with his answer due on December 15, 2020.

                          To streamline the pleadings and place the Corporate Defendants and
           Sajnani, who share the same counsel, on equal footing, counsel for the parties have
           conferred and agreed, subject to approval of the Court, to November 30, 2020 as the
           deadline for the time for all defendants to answer or otherwise respond to the Amended
           Complaint.

                         Based on the agreed upon date for issue to be joined, and subject to the
           Court’s approval, counsel for the parties respectfully request the Case Management

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          Case 1:20-cv-07355-PKC Document 19
                                          18 Filed 10/20/20
                                                   10/19/20 Page 2 of 2


ZEICHNER ELLMAN & KRAUSE                  LLP

    Judge P. Kevin Castel
    October 19, 2020
    Page 2


    Conference scheduled for November 10, 2020 be adjourned to a date set by the Court after
    November 30, 2020.

                    This is the first request of this kind. This short adjournment will cause no
    substantial delay in litigation and we thank the Court for its consideration of this request.


                                                   Respectfully submitted,


                                                   /s/ Stephen Ellman

    cc:      Dwight Yellen, Esq. by ECF
    4841-5457-2495, v. 1




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